            Case 1:21-cr-00507-PLF Document 37 Filed 12/01/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
       v.                                      :       Case No. 21-CR-507 (PLF)
                                               :
                                               :
STEPHANIE MARYLOU BAEZ                         :
                                               :
       Defendant.                              :

                                   JOINT STATUS REPORT

       The United States of America, through counsel, and defendant Stephanie Marylou Baez,

through counsel, hereby submit their December 1, 2022, Joint Status Report pursuant to the Court’s

November 8, 2022, Minute Order and state as follows:

   1. The defendant in this case are charged by a four-count Information with violations of

18 U.S.C. § 1752(a)(1) (Entering and Remaining in a Restricted Building); 18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a Restricted Building); 40 U.S.C. § 5104(e)(2)(D) (Violent

Entry and Disorderly Conduct in a Capitol Building); and 40 U.S.C. § 5104(e)(2)(G) (Parading,

Demonstrating, or Picketing in a Capitol Building).

   2. The government has provided defendant discovery. The government has also provided

defense counsel with access to a tour of the crime scene, directed by the United States Capitol

Police. Defense counsel has received the discovery and continues to review it personally and with

their client. At present, there are no discovery disputes that require the intervention of the Court.

   3. The parties remain engaged in their respective pretrial preparations. The trial is currently

set to commence Monday, May 8, 2023, at 10:00 a.m. ECF No. 36, p. 6. The pretrial motions

hearing date, previously set for December 1, 2022, was vacated, and a new date is currently

pending.
            Case 1:21-cr-00507-PLF Document 37 Filed 12/01/22 Page 2 of 2




      4. The parties propose that the Court allow the parties to file a subsequent joint status report

sixty days from today, specifically Monday, January 30, 2023, or thereabouts.


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                                               Page 2 of 2
